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                   EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALAMA
                                  EASTERN DIVISION

JUSTIN JOHNSON,                                     )
                                                    )
       Plaintiff,                                   )
                                                    )
       v.                                           )      Case No. 3:22-cv-00336-RAH-JTA
                                                    )
WAAWAATESI LLC,                                     )
d/b/a GREENLINE LOANS, et al.,                      )
                                                    )
                                                    )
       Defendants.                                  )

                           DECLARATION OF RACQUEL BELL

       I, Racquel Bell, states as follows:

       1.      I am over the age of eighteen years. The statements contained in this declaration

are personally known to me. I am competent to testify about any of the matters contained in this

declaration.

       2.      I am currently employed by LDF Holdings, LLC, which wholly owns and operates

Waawaatesi LLC, d/b/a Greenline Loans $dGII_II\M[Qe%.

       3.      I am employed as the Compliance Manager and my physical place of employment

is located on the Reservation of the Lac du Flambeau Band of Lake Superior Chippewa Indians

Tribe $dDZQJMe%, which is a federally recognized Indian tribe. The Reservation is located within

the boundaries of the State of Wisconsin.

       4.      Waawaatesi was formed and organized pursuant to Section 44a.201 of the Tribally

Owned Business Corporation Organization Ordinance of the Lac du Flambeau Band of Lake

Superior Chippewa Indians DZQJM $d>79 @ZLQVIVKMe%, with the stated purpose of stimulating

economic growth and jobs for tribal members by operating as a tribal lending business.

       5.      Waawaatesi is TQKMV[ML Ja \PM DZQJMf[ 9QVIVKQIT CMZ^QKM[ BMO]TI\WZa 4]\PWZQ\a&

which is a governmental subdivision of the Tribe.

                                               1                                    WA 12151328.1
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        6.     Waawaatesi is wholly owned and operated by LDF Holdings, LLC.

        7.     LDF Holdings, LLC was formed and organized pursuant to Section 44a.201 of the

LDF Ordinance, with the stated purpose of stimulating economic growth and jobs for tribal

members by operating one or more tribal lending businesses.

        8.     LDF Holdings, LLC is wholly owned by the LDF Business Development

Corporation.   LDF Business Development Corporation was created by the Tribal Council of the

Lac du Flambeau Band of Lake Superior Chippewa Indians Tribe, pursuant to their authority under

Article VI Section 1(o) of the Tribal Constitution. The Lac du Flambeau Band of Lake Superior

Chippewa Indians Tribe is the sole owner of the LDF Business Development Corporation.

        8.     Waawaatesi, LDF Holdings IVL >79 5][QVM[[ 7M^MTWXUMV\ 6WZXWZI\QWVf[

principal place of business is located within the exterior boundarQM[ WN \PM DZQJMf[ BM[MZ^I\QWV'

        9.     Plaintiff Justin Johnson took out a loan with Waawaatesi on or about August 24,

2021.

        10.    The loan was memorialized by a loan agreement that Mr. Johnson signed on August

24, 2021.

        11.    A true and accurate copy of the loan IOZMMUMV\ UMUWZQbQVO ?Z' =WPV[WVf[ TWIV Q[

attached hereto as Exhibit 1.

        12.    The loan agreement was electronically signed by Mr. Johnson.

        13.    The loan agreement contains an arbitration provision.

        14.     The loan agreement contains a class action waiver.



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                          #"$% 2022.
        Executed on: July ____,

                                                 ___________________
                                                 2
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                                 Racquel Bell




                                 3
                                             Exhibit 1




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